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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                    Judge Robert E. Blackburn

 Civil Action No. 1:15-cv-01288-REB-MJW

 CROCS, INC., a Delaware corporation,

        Plaintiff,

 v.

 THE CHILDREN’S PLACE, INC., a Delaware corporation;
 THE CHILDREN’S PLACE SERVICES COMPANY, LLC, a Delaware limited liability
 company; and
 THE CHILDREN’S PLACE RETAIL STORES, INC., a Delaware corporation,

        Defendants.


                                         ORDER OF DISMISSAL

 Blackburn, J.

        This matter is before the court on the Notice of Dismissal With Prejudice [#44]1 filed

 December 21, 2015. After reviewing the notice and the record, I conclude that the notice

 should be approved and this action should be dismissed without prejudice.

        THEREFORE, IT IS ORDERED as follows:

        1. That the Notice of Dismissal With Prejudice [#44] is approved;

        2. That any pending motion is denied as moot; and

        3. That this action is dismissed with prejudice as to all defendants.

        Dated December 23, 2015, at Denver, Colorado.

                                                          BY THE COURT:




          1
            “[#44]” is an example of the convention I use to identify the docket number assigned to a specific
  paper by the court’s case management and electronic case filing system (CM/ECF). I use this convention
  throughout this order.
